             Case 01-01139-AMC                         Doc 20005-4                Filed 11/12/08               Page 1 of 10




                                  IN THE UNITED STATES BANKRUPTCY COURT

                                            FOR THE DISTRICT OF DELA WARE

In re:                                                                      )             Chapter 11

                                                                            )
W.R. GRACE & CO., et aI., 1                                                 )
                                                                                          Case No. 01-1139 (JKF)
                                                                                          Jointly Administered
                                                                            )
                                                                            )      Objection Date: December 3,2008 at 4:00 p.m.
                                             Debtors.                       )      Hearing Date: Scheduled if Necessary (Negative
                                                                            )      Notice)
                                                                            )

                        SEVENTY-SIXTH MONTHLY APPLICATION OF BMC GROUP
                      FOR COMPENSATION FOR SERVICES RENDERED AND
                REIMBURSEMENT OF EXPENSES AS CLAIMS RECONCILIATION AND
                 SOLICITATION CONSULTANT TO THE DEBTORS FOR THE PERIOD
                          FROM JULY 1. 2008 THROUGH JULY 31. 2008

Name of Applicant:                                                        BMC Group ("BMC")

Authorized to Provide Professional Services to:                           The above-captioned debtors and debtors in
                                                                          possession

Date of Retention:                                                        Retention Order entered May 8, 2002;
                                                                          effective as of April 4, 2002

Period for which Compensation and                                         July 1 through July 31, 2008
Reimbursement is Sought:

Amount of Compensation Sought as Actual,                                  $ 32,283.50
Reasonable and Necessary:

Amount of Expense Reimbursement Sought as                                 $ 4,543.30
Actual, Reasonable and Necessary:




           The Debtors consist of the following 62 entities: W.R. Grace & Co. (f/ka Grace Specialty Chemicals, Inc.), W.R. Grace & Co.-Conn., A- I
Bit & Tool Co., Inc., Alewife Boston Ltd., Alewitè Land Corporation, Ainicon, Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc.,
Coalgrace, Inc., Coalgrace II, Inc., Creative Food =N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/ka
Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/ka Grace Cocoa Limited Partners i, Inc.), G C
Management, Inc. (tì'/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling
Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services
Corporation, Grace International Holdings, Inc. (f/ka Dearbom International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.R. Grace Capital Corporation, W.R.
Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco
International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/ka GHSC Holding, Inc., Grace JVH, Inc.,
Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/ka Nestor-BNA Holdings Corporation),
MRA Intennedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/ka
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street
Corporation, Axial Basin Ranch Company, CC Partners (f/ka Cross Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.
               Case 01-01139-AMC                    Doc 20005-4          Filed 11/12/08                 Page 2 of 10




This is a:               ~ Monthly Application              D Quarterly Application                     D Final Application

        The total time expended for preparation of this fee application is approximately 30.0 hours and the
corresponding compensation requested is approximately $7,500.00.2

              This is the Seventy-Sixth Application fied by BMC.


                                                    PRIOR APPLICATIONS

   . . Date
    Filed
3/4/2003
                    ~~)
                   N/A
                                    /Pei-iod

                             4/4/2002-4/30/2002
                                                         Requested
                                                           Fees
                                                          $18,913.50
                                                                              Requested
                                                                              ExpenseS
                                                                               $1,420.00
                                                                                                .....


                                                                                                         'FeeS ~
                                                                                                     $15,130.80 $1,420.00
3/4/2003           N/A       5/1/2002-5/31/2002           $46,559.00           $2,781.83             $37,247.20   $2,781.83
3/4/2003           N/A       6/1/2002-6/30/2002           $42,162.00           $3,538.24             $33,729.60   $3,538.24
3/4/2003           N/A       5th Ouarterly 2002          $107,634.50            $7,40.07             $86,107.60   $7,40.07
3/4/2003           N/A       7/1/2002-7/31/2002            $48,181.5           $10,701.48            $38,545.40  $10,701.48
3/4/2003           N/A       8/1/2002-8/31/2002           $48,729.50            $1,891.2             $38,983.60   $1,891.2
3/4/2003           N/A       9/1/2002-9/30/2002           $55,850.00           $2,743.43             $44,680.00   $2,743.43
3/4/2003           N/A       6th Quarterly 2002          $152,761.25          $15,336.23            $122,209.00  $15,336.23
3/4/2003           N/A       10/1/2002-10/31/2002         $95,621.50           $3,384.85             $76,497.20   $3,384.85
3/4/2003           N/A       11/1/2002-11/30/2002         $49,215.25           $2,658.68             $39,37220    $2,658.68
3/4/2003           N/A       12/1 /2002-12/31 /2002       $46,683.00             $850.00             $37,346.40     $850.00
3/4/2003           N/A       7th Quarterly 2002          $191,519.75           $6,893.53            $153,215.80   $6,893.53
5/15/2003          10        1/1/2003-1/31/2003           $74,318.00           $1,229.90             $59,454.40   $1,229.90
5/15/2003          11        2/1/2003-2/28/2003           $82,610.00           $4,837.69             $66,088.00   $4,837.69
5/15/2003          12        3/1/2003-3/31/2003           $72,57225            $3,860.72             $58,057.80   $3,860.72
5/15/2003          8Q        81h Ouarterly 2003          $229,500.25           $9,928.31            $183,600.20   $9,928.31
9/23/2003          13        4/1/2003-4/30/2003          $117,598.00           $2,132.50             $94,078.40   $2,132.50
9/23/2003          14        5/1/2003-5/31/2003          $140,988.00           $4,689.22            $112,790.40   $4,689.22
9/23/2003          15        6/1/2003-6/30/2003           $95,449.00           $8,234.67             $76,359.20   $8,234.67
9/23/2003          90        9th Ouarterly 2003          $354,035.00          $15,480.10            $283,228.00  $15,480.10
2/18/2004          16        7/1/2003-7/31/2003           $90,293.50            $9,851.6             $90,293.50   $9,851.6
2/18/2004          17        8/1/2003-8/31/2003           $88,262.50            $2,515.87            $88,262.50   $2,515.87
2/18/2004          18        9/1/2003-9/30/2003           $82,370.00          $16,341.4              $82,370.00  $16,341.4
2/25/2004          100       1dh Quarterly 2003          $260,926.00          $28,708.57            $260,926.00  $28,708.57
4/13/2004          19        10/1/2003-10/31/2003         $86,187.00           $1,861.76             $86,187.00   $1,861.6
4/13/2004          20        11/1/2003-11/30/2003         $69,321.00           $1,330.52             $69,321.00   $1,330.52
4/13/2004          21        12/1/2003-12/31/2003         $62,679.00           $2,627.14             $62,679.00   $2,627.14
4/13/2004          11 Q      1 ¡th Quarterly 2003        $218,187.00           $5,819.42            $218,187.00   $2,528.88
6/18/2004          22        1/ 1/2004-1 /31/2004         $84,944.50           $1,327.94             $84,944.50   $1,327.94
6/18/2004          23        2/1/2004-2/29/2004           $42,147.00           $1,623.86             $42,147.00   $1,623.86
6/18/2004          24        3/1/2004-3/31/2004           $89,579.50           $1,403.99             $89,579.50   $1,403.99
6/18/2004          120       121h Ouarterly 2004         $216,671.00           $4,355.79            $216,671 00   $4,355.79
11/5/2004          25        4/1/2004-4/30/2004           $76,264.50           $2,134.18             $76,264.50   $2,134.18
11/5/2004          26        5/1/2004-5/31/2004           $63,31350            $2,330.43             $63,313.50   $2,330.43
11/5/2004          27        6/1/2004-6/30/2004           $58,641.0            $2,795.01             $58,641.0    $2,795.01
11/5/2004          13 Q      1 f' Quarterly 2004         $198,219.50           $7,259.62            $198,219.50   $7,259.62




2 The actual number of         hours expended in preparing this fee application and the corresponding compensation requested wil be
set forth in BMC's subsequent fee applications.

                                                                2
             Case 01-01139-AMC                       Doc 20005-4               Filed 11/12/08               Page 3 of 10




                                             PRIOR APPLICATIONS - continued

    Date                              ._Period                    Requested             Requested              Approved      Approved
    Filed          ~t          .                                    Fees                Expenses                 Fees         EXDenses
2/7/2005          28         7/1/2004 -7/31/2004                  $45,396.00              $2,558.91            $45,396.00     $2,558.91
2/7/2005          29         8/1/2004 - 8/31/2004                 $60,094.50              $1,375.09            $60,094.50     $1,375.09
2/7/2005          30         9/1/2004 - 9/30/2004                 $75,755.50              $1,251.65            $75,755.50     $1,251.65
2/7/2005           140       1 lh Quarterly 2004                 $181,246.00              $5,185.65           $181,246.00     $5,185.65
4/22/2005         31         10/1/2004 - 10/31/2004               $59,922.00              $2,144.86            $59,922.00     $2,144.86
4/22/2005         32         11/1/2004 - 11/30/2004               $65,745.50             $28,337.71            $65,745.50    $28,337.71
4/22/2005         33         12/1/2004 - 12/31/2004               $62,692.00              $8,918.87            $62,692.00     $8,918.87
4/22/2005         15Q        15th Quarterly 2004                 $188,359.50             $39,401.44           $188,359.50    $39,401.44
8/11/2005         34         1/1/2005 - 1/31/2005                 $67,384.00              $2,530.41            $67,745.50     $2,530.41
8/11/005          35         2/1/2005 - 2/28/2005                 $56,206.00              $2,869.31            $56,206.00     $2,869.31
8/11/2005         36         3/1/2005 - 3/31/2005                 $64,836.00              $1,666.16            $64,836.00     $1,666.16
8/11/2005         16Q        16th Quarterly 2005                 $188,426.00              $7,065.88           $188,426.00     $7,065.00
10/31/2005        37         4/1/2005 - 4/30/2005                 $88,685.50              $2,391.3             $88,685.50     $2,391.3
10/31/2005        38         5/1/2005 - 5/31/2005                $158,852.00              $4,552.49           $158,852.00     $4,552.49
10/31/2005        39         6/1/2005 - 6/30/2005                $232,914.00             $13,912.17           $232,914.00    $13,912.17
10/31/2005        170        1 ih Ouarterly 2005                 $480,451.50             $20,855.99           $480,451.50    $20,855.99
1/31/2006         40         7/1/2005 -7/31/2005                 $468,997.75             $17,359.91           $468,997.75    $17,359.91
1/31/2006         41         8/1/2005 - 8/31/2005                $684,403.00             $43,446.98           $684,403.00    $43,446.98
1/31/2006         42         9/1/2005 - 9/30/2005                $334,412.00             $34,731.4           $334,412.00     $34,731.4
2/1/2006          180        18th Quarterly 2005               $1,487,812.75             $95,538.03         $1,487,812.75    $95,538.03
4/20/2006         43         10/1/2005 - 10/31/2005              $126,175.50              $2,460.85          $126,175.50      $2,460.85
4/20/2006         44         11/1/2005 - 11/30/2005              $136,980.50              $2,010.10          $136,980.50      $2,010.10
4/20/2006         45         12/1/2005 - 12/31/2005               $54,700.50              $4,310.19            $54,700.50     $4,310.19
4/20/2006         19Q        19th Quarterly 2005                 $301,963.67*             $8,781.14          $301,963.67*     $8,781.14
4/28/2006         46         1/1/2006 - 1/31/006                  $52,998.50              $2,322.75            $52,998.50     $2,322.75
7/17/2006         47         2/1/2006 - 2/28/2006                 $64,309.50              $1,438.85            $64,309.50     $1,438.85
8/25/2006         48         3/1/2006 - 3/31/2006                 $69,538.75              $2,732.97            $69,538.75     $2,732.97
8/25/2006         20Q       20th Quarterly 2006                  $177,504.41 *            $6,494.57          $1-7,504.41*     $6,494.57
11/21/2006        49        4/1/2006 - 4/30/2006                  $64,523.00              $1,918.17            $64,523.00     $1,918.17
11/22/2006        50         5/1/2006 - 5/31/2006                 $83,530.00              $2,41338             $83,530.00     $2,413.38
11/22/2006        51         6/1/2006 - 6/30/2006                 $42,762.00             $5,634.14             $42,762.00     $5,634.14
11/22/2006        210       21'1 Quarterly 2006                  $181,274.25*            $9,965.65           $181,274.25*     $9,965.65
12/11/2006        52        7/1/2006 -7/31/2006                   $35,134.50            $41,219.71             $35,134.50    $41,219.71
12/21/2006        53         8/1/2006 - 8/31/2006                 $76,583.00             $4,757.53             $76,583.00     $4,757.53
12/27/2006        54        9/1/2006 - 9/30/2006                  $71,515.00            $24,065.05             $71,515.00    $24,065.05
12/27/2006        220       2211d Quarterly 2006                 $174,070.88*           $70,042.29           $174,070.88*    $70,042.29
5/17/2007         55         10/1/2006 - 10/31/2006              $103,882.50            $72,054.63           $103,882.50     $72,054.63
5/21/2007         56         11/1/2006 - 11/30/2006               $74,836.00            $18,644.41             $74,836.00    $18,644.41
5/22/2007         57        12/1/2006 -12/31/2006                 $66,253.50            $24,335.71             $66,253.50    $24,335.71
5/22/2007         23Q       23rd Quarterly 2006                  $232,723.40*          $115,034.75           $232,723.40*   $115,034.75
8/24/2007         58         1/1/2007 - 1/31/2007                 $89,031.50            $13,162.75             $89,031.50    $13,162.75
8/24/2007         59        2/1/2007 - 2/28/2007                 $136,258.25            $16,098.69           $136,258.25     $16,098.69
8/24/2007         60        3/1/2007 - 3/31/2007                  $80,692.00             $1,746.97             $80,692.00     $1,746.97
8/24/2007         240       2lh Ouarterly 2007                   $290,682.66*           $31,008.41           $290,682.66     $31,008.41



* Reflects BMC's voluntary courtesy discount of 5% from actual fees for the Nineteenth, Twentieth, Twenty-First, Twenty-Second,
Twenty-Third and Twenty-Fourth Quarterly Fee Periods, and 3.5% from actual fees for the Twenty-Fifth Quarterly Period..




                                                                      3
             Case 01-01139-AMC                       Doc 20005-4               Filed 11/12/08               Page 4 of 10




                                             PRIOR APPLICATIONS - continued

    Date           App                  Period                    Requested              Requested              Approved        Approved
    Filed           No.                Coveted                       Fees                EXlJellSeS               Fees           EXlJenses
11/9/2007         61         4/1/2007 - 4/30/2007                  $49,298.00              $1,989.73            $49,298.00       $1,989.73
11/9/2007         62         5/1/2007 - 5/31/2007                 $135,17200               $2,067.20           $135,17200        $2,067.20
11/9/2007         63         6/1/2007 - 6/3012007                  $58,687.50              $3,094.14            $58,687.50       $3,094.14
11/9/2007         250        25th Ouarterly 2007                  $234,646.98*             $7,151.07           $234,646.98*      $7,151.07
12/5/2007         64         7//2007 -7/31/2007                    $48,858.00              $2,166.14            $48,858.00       $2,166.14
12/72007          65         8/1/2007 - 8/31/2007                  $66,679.00              $2,412.77            $66,679.00       $2,412.77
12/7/2007         66         9/1/2007 - 9/30/2007                  $43,504.00              $3,307.71            $43,504.00       $3,307.71
12/11/2007        26Q        26th Quarterly 2007                  $159,041.00              $7,886.62           $159,041.00       $7,886.62
1/72008           67         10/1/2007 - 10/31/2007                $48,179.00              $2,867.37            $48,179.00       $2,867.37
1/11/008          68         11/1/2007 - 11/30/2007                $36,004.50              $2,273.21            $36,004.50       $2,273.21
2/1/2008          69         12/1/2007 - 12/31/2007                $27,285.00              $2,17719             $27,285.00       $2,17719
2/27/2008         27Q        2ih Quarterly 2007                   $111468.50               $7,317 77           $111,468.50       $7,317.77
3/19/2008         70         1/1/2008 - 1/31/2008                  $39,843.00              $2,370.71            $34,105.40       $2,370.71
5/12/2008         71         2/1/2008 - 2/29/2008                  $27,323.50              $2,243.98            $18,520.00       $2,243.98
5/29/2008         72         3/1/2008 - 3/31/2008                  $21,341.0               $2,718.61            $17,393.50       $2,718.61
5/29/2008         280        28th Ouarterlv 2008                   $88,508.00              $7,333.30            $70,019.40       $7,333.30
10/28/2008        73         4/1/2008 - 4/30/2008                  $33,293.50              $2,751.4             Pending         Pending
10/28/2008        74         5/1/2008 - 5/30/2008                  $24,593.50              $2,093.58            Pending         Pending
10/28/2008        75         6/1/2008 - 6/30/2008                  $35,61350               $2,310.78            Pending         Pendinii
10/28/2008        290        29th Ouarterlv 2008                   $93,500.50              $7,155.50            Pendinf!        Pendinrz
11/12/2008        76         7/1/2008 -7/31/2008                   $32,283.50              $4,543.30            Pending         Pendinii




                                             BIOGRAPHICAL INFORMATION




Liliana Anzaldo
Martha Araki


Kat a Belas                                                                                        $65.00                 1.       $84.50
Lauri Bogue                                                                                       $110.00                 4.0     $440.00



* Retlects BMC's voluntary courtesy discount of 5% ¡rom actual fees for the Nineteenth, Twentieth, Twenty-First, Twenty-Second,
Twenty-Third and Twenty-Fourth Quarterly Fee Periods, and 3.5% from actual fees for the Twenty-Fitìh Quarterly Period..




                                                                      4
                   Case 01-01139-AMC             Doc 20005-4                Filed 11/12/08                Page 5 of 10




            Name    of              Positon with Applicant, Number of Years           Hourly Billng          TotalHours      Total
    Professional     Person    in Position, Prior RelevantExperience, Licenses and   Rate    (Including        Biled      Compensation
                                        Y ear Obtained, Area of Expertise                   Changes)
Mike Booth                    Claims Reconciliation Manager, 514 years; 4                    $165.00               2.9       $478.50
                              years prior bankruptcy experience
Alex Cedeno                   Case Suppoi1 Clerk, 114 years                                   $45.00               0.8         $36.00
Patrick Cleland               Case Analyst, 414 years                                         $65.00               0.5         $32.50
Steffanie Cohen               Reconciliation Consultant, 514 years; 2 years                  $110.00              31.       $3,487.00
                              prior bankruptcy experience
Jacqueline Conklin            Data Analyst, 614 years                                         $95.00              16.2      $1,539.00
Corazon Del Pilar             Case Suppoi1 Clerk, 414 years                                   $45.00               0.4         $18.00
Reynante Dela Cruz            Case Analyst, 3 years                                           $95.00               3.2        $304.00
Ellen Dors                    Reconciliation Consultant, 5 years; prior                      $110.00               1.0       $11000
                              bankruptcy experience with former employer
                              during two bankruptcy cases
Maristar Go                   Case Analyst, 4 years; 2 years prior legal                       $95.00              0.8         $76.00
                              industry experience
Mike Grimmett                 Senior Data Consultant, 514 years; 12 years                    $175.00               2.1       $367.50
                              prior experience bankruptcy and data
                              proiiramminii
Leila Hughes                  Reconciliation Analyst, 514 years; 10 years                      $75.00              6.3       $47250
                              prior experience in accounts payable and
                              creditor negotiation
Myrtle John                   Senior Manager, 614 years; 30 years experience                 $195.00               0.2         $39.00
                              in bankruptcy and other legal practice areas
Lemuel Jumilla                Case Analyst, 4 years; 314 years prior legal                     $95.00              0.6        $57.00
                              industry experience
Stephenie Kjontvedt           Senior Consultant, 5 Y2 years; 15 years                        $140.00               4.2       $588.00
                              experience in bankruptcy consulting
Yvette Knopp                  Case Support Associate, 512 years; 3 years                       $90.00              1.9       $171.00
                              prior bankruptcy case support experience
Gunther Kruse                 Data Consultant, 5Y2 years; 8 years prior                      $150.00             41.8      $6,270.00
                              experience in IT industry as database
                              administrator and network manager
Terri Marshall                Senior Consultant, 514 years; 4 years prior                    $185.00               0.4        $74.00
                              bankruptcy experience
Kevin Martin                  Consultant, 514 years; 6 years prior experience                $135.00               2.2       $297.00
                              in financial services; 2 years prior experience
                              in mergers/acquisitions
Jeff Miler                    Senior Manager, 6 years; 5 years prior project                 $210.00             39.0      $8,190.00
                              management experience
Sonia Millsap                 Data Analyst, 4 months                                          $95.00             10.4        $988.00
James Myers                   Case Support Clerk, 7 years                                     $65.00               1.9       $123.50
Noreve Roa                    Case Analyst, 4 years; 2 years prior legal                      $95.00               5.7       $541.0
                              industry experience




                                                                  5
             Case 01-01139-AMC                 Doc 20005-4                Filed 11/12/08          Page 6 of 10




          Niime of               Position with Applicant, Number of Years          H()urly Billing   TotalHours              Total
    Professioiial Person    inPositi()n,Pri()r Relevant Experience, Licenses and   Rate (Including     Biled             Coripensati()n
                                     Year Obtained, Area of Expertise                Changes) .

Lucina Solis               Case Suppoii Associate, 5 years                               $45.00            0.3                 $13.50
Brianna Tate               Case Information Clerk, 414 years                             $45.00            2.7               $121.0
Anna Wick                  Senior Data Analyst, 514 years                               $110.00            3.1               $341.00



                                                Fees: $32,283.50                               Hours: 219.2

                                                     $147.28




                                COMPENSATION BY PROJECT CATEGORY

                                                        Total Hours
 Asbestos Claims                                                   15.6                                  $3,002.00
 Asbestos PI Claims                                                 0.00                                         $0.00
 Case Administration                                               62.3                                  $9,081.00
 Data Analysis                                                     75.1                                  $9,574.50
 Fee Applications - Applicant                                       4.0                                    $840.00
 Non - Asbestos Claims                                             58.1                                  $9,139.00
 PIan & Disclosure Statement                                        4.1                                    $647.00
 Travel                                                             0.0                                          $0.00




                                                               6
          Case 01-01139-AMC                                 Doc 20005-4        Filed 11/12/08    Page 7 of 10




                                                            EXPENSE SUMMARY

        Expense Category                                     Serviee .Provider (If Applicable)       Total Expenses
b-Linx User Fee                                  BMC                                                          $350.00
b-Linx/Data Storage                              BMC                                                          $850.00
Document Storage                                 BMC                                                          $600.30
Website Hosting                                  BMC                                                          $250.00
WebsIte Storage/Traffic                          BMC                                                          $150.96




                          . ..... ... .
                                      Total       .......                                                  . $t'~'72 :lll




                                              PRODUCTION EXPENSE SUMMARY


July 17,2008                                     BMC                                                       $2,271.00




WHEREFORE, BMC respectfully requests:

        (a) that an allowance be made to it in the aggregate of $30,370.1 0, which is comprised of:

                  (i) 80% of the fees rendered by BMC to the Debtors for reasonable and necessary

                                        professional services during the Seventy-Sixth Fee Period (80% of $32,283.50=

                                         $25,826.80); and

                  (ii) 100% ofthe actual and necessary costs and expenses incurred by BMC during the

                                         Seventy-Sixth Fee Period ($4,543.30);




                                                                        7
       Case 01-01139-AMC              Doc 20005-4        Filed 11/12/08           Page 8 of 10




      (b) that both the fees and expenses are payable as an administrative expense of the Debtors' estates;

          and

      (c) for such other and further relief as the Court deems just and proper.


Dated: November   u,2008                       BMC GROUP



                                               By:

                                                       ( B B d l s t W s u i t e 300
                                                        Seattle, Washington 98104
                                                        Telephone: (206) 516-3300
                                                        Telecopier: (206) 5 16-3304

                                                        Claims Reconciliation and Solicitation
                                                        Consultant to the Debtors and
                                                        Debtors in Possession
         Case 01-01139-AMC              Doc 20005-4         Filed 11/12/08        Page 9 of 10




                                             VERIFICATIOK


        MYRTLE H. JOHN, after being duly sworn, deposes and says:



        1. I am employed by Applicant, BMC Group ("BMC"), the Claims Reconciliation and Solicitation

Consultant to the debtors and debtors in possession herein (the "Debtors"). I am a Senior Manager with BMC,

and I have personal knowledge of the matters set forth herein.

        2. I have personally reviewed the consulting services rendered by BMC as Claims Reconciliation and

Solicitation Consultant to the Debtors and am thoroughly familiar with the other work performed on behalf of

the Debtors by other consultants and employees of BMC.

        3. I have reviewed the foregoing Application and the facts set forth therein are true and correct to the

best of my knowledge, information and belief. Annexed hereto are the following Exhibits: Exhibit 1 -

Monthly Fee Invoice comprised of a detail of time expended and Professional Activity Summary; and

Exhibit 2 - Monthly Expense Invoice comprised of an Expense Invoice and Detail. Moreover, I have

reviewed the Local Bankruptcy Rules for the District of Delaware and the 'Amended Administrative Order

Under 11 U.S.C. §§105(a) and 331 Establishing Revised Procedures for Interim Compensation and
        Case 01-01139-AMC            Doc 20005-4        Filed 11/12/08        Page 10 of 10




Reimbursement of Expenses for Professionals and Official Committee Members,' signed April 17,2002,and

submit that the Application herein substantially complies with such Rules and Order.


DATED: November       a,
                       2008
El Segundo, California




State of California                      1
                                         1                            .   .
County of Los Angeles                    1
          o n ~ o v e m b e r f a 2008,
                                  ,     before me, James H. Myers, a Notary Public, personally appeared
Myrtle H. John, who proved to me on the basis of satisfactory evidence to be the person whose name
is subscribed to the within instrument and acknowledged to me that she executed the same in her
authorized capacity, and that by her signature on the instrument the person, or the entity upon behalf
of which the person acted, executed the instrument.

         I certify under PENALTY OF PERJURY under the laws of the State of California that the
foregoing paragraph is true and correct.

        WITNESS my hand and official seal.
